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                United States District Court for the District of Columbia

United States of America                                       *

         v.                                                    *                       No. 1:21-CR-00353-JDB-1

Nicholas Languerand                                            *

      Defendant’s Motion for Revocation of Detention Order, Request for
     Hearing, Incorporated Memorandum of Law, and Factors for Release

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      Motion for Revocation of Detention Order and Request for Hearing

         Defendant Nicholas Languerand moves for revocation of the Order of

Detention Pending Trial entered on April 21, 2021. App’x. at 1; see 18 U.S.C. §

3145(b). He requests a hearing. Loc. Cr. R. 47(f). In support, he states:

         1.        At defendant’s initial appearance on April 15, 2021, the government

moved for detention. Doc. 5 in SCD No. 4:21-CR-00183-TER.

         2.        After a hearing on April 21, 2021, a Magistrate Judge ordered detention.

App’x. at 1.

         3.        On March 26, 2021, the Court of Appeals decided United States v.
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Munchel, 991 F. 3d 1273 (2021).

      4.      The Order of Detention Pending Trial does not identify an articulable

threat posed by the defendant to an individual or the community. App’x. at 1;

compare Munchel at 1282 – 1283.

      5.      A threat must be considered in context. Id at 1283; see also United

States v. Tortora, 922 F.2d 880, 888 (1st Cir. 1990).

      6.      Whether a defendant poses a particular threat depends on the nature of

the threat identified and the resources and capabilities of the defendant. Munchel at

1283; cf. United States v. Nwokoro, 651 F.3d 108, 110 – 11 (D.C. Cir. 2011).

      7.      Mr. Languerund believes that he should be released on a condition or a

combination of them pursuant to subsection 3142(c).

      8.      A third party custodian has been proposed to Pretrial Services and the

government.

      9.      The Court has already scheduled a status hearing for 2:00 p.m. on

August 5, 2021.


                               Memorandum of Law

      Congress has provided for release of a defendant pending trial. 18 U.S.C. §

3142. The text of the statute requires a judicial officer to order pretrial release on

personal recognizance, or upon execution of an unsecured appearance bond, subject

to the condition that the person not commit a crime during release, and subject to




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cooperation in the collection of a DNA sample, if authorized; 1 unless the judicial

officer determines that such release will not reasonably assure the appearance of the

person as required or will endanger the safety of any other person or the community.

18 U.S.C § 3142(b).

          Even if a judicial officer determines that release pursuant to subsection

3142(b) will not reasonably assure the appearance of the person, or that it will

endanger the safety of any other person or the community, the text of the statute

requires a judicial officer to order the pretrial release of the person:

            (A) subject to the condition that the person not commit a Federal, State, or
          local crime during the period of release and subject to the condition that the
          person cooperate in the collection of a DNA sample from the person if the
          collection of such a sample is authorized pursuant to section 3 of the DNA
          Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a); 2 and
            (B) subject to the least restrictive further condition, or combination of
          conditions, that such judicial officer determines will reasonably assure the
          appearance of the person as required and the safety of any other person and
          the community, which may include the condition that the person—
                   (i) remain in the custody of a designated person, who agrees to assume
                supervision and to report any violation of a release condition to the
                court, if the designated person is able reasonably to assure the judicial
                officer that the person will appear as required and will not pose a danger
                to the safety of any other person or the community;
                  (ii) maintain    employment,    or,   if   unemployed,   actively   seek
                employment;
                  (iii) maintain or commence an educational program;




1 Title
      42, United States Code, Section 14135a was editorially reclassified as Section
40702 of Title 34, Crime Control and Law Enforcement.
2 Ibid.


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               (iv) abide by specified restrictions on personal associations, place of
             abode, or travel;
               (v) avoid all contact with an alleged victim of the crime and with a
             potential witness who may testify concerning the offense;
               (vi) report on a regular basis to a designated law enforcement agency,
             pretrial services agency, or other agency;
               (vii) comply with a specified curfew;
               (viii) refrain from possessing a firearm, destructive device, or other
             dangerous weapon;
               (ix) refrain from excessive use of alcohol, or any use of a narcotic drug
             or other controlled substance, as defined in section 102 of the Controlled
             Substances Act (21 U.S.C. § 802), without a prescription by a licensed
             medical practitioner;
               (x) undergo available medical, psychological, or psychiatric treatment,
             including treatment for drug or alcohol dependency, and remain in a
             specified institution if required for that purpose;
               (xi) execute an agreement to forfeit upon failing to appear as required,
             property of a sufficient unencumbered value, including money, as is
             reasonably necessary to assure the appearance of the person as
             required, and shall provide the court with proof of ownership and the
             value of the property along with information regarding existing
             encumbrances as the judicial office may require;
                (xii) execute a bail bond with solvent sureties; who will execute an
             agreement to forfeit in such amount as is reasonably necessary to assure
             appearance of the person as required and shall provide the court with
             information regarding the value of the assets and liabilities of the surety
             if other than an approved surety and the nature and extent of
             encumbrances against the surety's property; such surety shall have a
             net worth which shall have sufficient unencumbered value to pay the
             amount of the bail bond;
               (xiii) return to custody for specified hours following release for
             employment, schooling, or other limited purposes; and
               (xiv) satisfy any other condition that is reasonably necessary to assure
             the appearance of the person as required and to assure the safety of any
             other person and the community.

18 U.S.C § 3142(c). The text of the statute prohibits a judicial officer from imposing

a financial condition that results in pretrial detention. 18 U.S.C § 3142(c)(1).

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      Only if after a hearing to determine whether any condition or combination of

conditions set forth in subsection (c) will reasonably assure the appearance of such

person and the safety of any other person and the community, the judicial officer finds

by clear and convincing evidence that no condition or combination of conditions

will do so, is the judicial officer required to order detention of a person before trial.

18 U.S.C § 3142(e), (f).

      At the hearing, the judicial officer shall consider the available information

concerning:

           (1) the nature and circumstances of the offense charged, including whether
         the offense is a crime of violence, a violation of section 1591, a Federal crime
         of terrorism, or involves a minor victim or a controlled substance, firearm,
         explosive, or destructive device;
           (2) the weight of the evidence against the person;
           (3) the history and characteristics of the person, including—
             (A) the person's character, physical and mental condition, family ties,
           employment, financial resources, length of residence in the community,
           community ties, past conduct, history relating to drug or alcohol abuse,
           criminal history, and record concerning appearance at court proceedings;
           and
             (B) whether, at the time of the current offense or arrest, the person was
           on probation, on parole, or on other release pending trial, sentencing,
           appeal, or completion of sentence for an offense under Federal, State, or
           local law; and
           (4) the nature and seriousness of the danger to any person or the
         community that would be posed by the person's release. In considering the
         conditions of release described in subsection (c)(1)(B)(xi) or (c)(1)(B)(xii) of
         this section, the judicial officer may upon his own motion, or shall upon the
         motion of the Government, conduct an inquiry into the source of the property
         to be designated for potential forfeiture or offered as collateral to secure a
         bond, and shall decline to accept the designation, or the use as collateral, of
         property that, because of its source, will not reasonably assure the
         appearance of the person as required.


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18 U.S.C § 3142(g).

      Historically, people believe that someone is innocent until proven otherwise,

and that innocent people are not supposed to be punished. Congress too believes that.

18 U.S.C § 3142(j).     The Eighth Amendment to the United States Constitution

provides that “[e]xcessive bail shall not be required, nor excessive fines imposed, nor

cruel and unusual punishments inflicted.” U.S. Const. amend. VIII. A defendant’s

      traditional right to freedom before conviction permits the unhampered
      preparation of a defense, and serves to prevent the infliction of
      punishment prior to conviction. … Unless this right to bail before trial
      is preserved, the presumption of innocence, secured only after centuries
      of struggle, would lose its meaning. Stack v. Boyle, 342 U.S. 1, 4 (1951). 3

      The words in the bail clause reflect inherent ambiguity, and the Court has

struggled to interpret them. The bail clause came from the English Bill of Rights Act

with slight changes. In England, that clause has never been thought to accord a right

to bail in all cases, but merely to provide that bail shall not be excessive in those cases

when it is proper to grant bail. When this clause was included in our Bill of Rights,

nothing was said that indicated a different concept. Carlson v. Landon, 342 U.S. 524,

545 (1952). However, Justice Black said the Court had reduced the bail clause “below

the level of a pious admonition” by saying that “the Amendment does no more than

protect a right to bail which Congress can grant and which Congress can take away.”



3 The Court has also taken a narrower view of the presumption of innocence, which
it described as “a doctrine that allocates the burden of proof in criminal trials,” and
denying that it has any “application to a determination of the rights of a pretrial
detainee during confinement before his trial has even begun.” Bell v. Wolfish, 441
U.S. 520, 533 (1979).

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Id. at 556 (J. Black, dissenting).

      Not much evidence exists about the intent of the people who drafted and

ratified the Eighth Amendment. The record of debate regarding adoption of the

excessive bail provision reflects only the comment of Mr. Livermore, who said: “The

clause seems to express a great deal of humanity, on which account I have no

objection to it; but as it seems to have no meaning in it, I do not think it necessary.

What is meant by the terms excessive bail? Who are to be judges?” 1 Annals of

Congress 754 (1789).

      Also, English history reflects bail controversy. The Statute of Westminster the

First of 1275 and later statutes list offenses for which there may be bail and offenses

for which there may not. 3 Edw. 1, ch. 12. However, in Darnel’s Case, judges

permitted the imprisonment of persons without bail merely by order of the King. 3

How. St. Tr. 1 (1627).

      This led Parliament to enact the Petition of Right in 1628. 3 Charles 1, ch. 1.

The Petition cited Magna Carta as proscribing the kind of detention that was

permitted in Darnel’s Case.

      Later, various technical subterfuges prevented the presentation of petitions for

habeas corpus.     Jenkes’ Case, 6 How. St. Tr. 1189, 36 Eng. Rep. 518 (1676).

Parliament responded with the Habeas Corpus Act of 1679, which established

procedures for effectuating release from imprisonment, and which provided penalties

for judges who did not comply with the Act. 31 Charles 2, ch. 2.

      Judges then set bail so high that it could not be met, and Parliament responded

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by including in the Bill of Rights of 1689 the provision “[t]hat excessive bail ought not

to be required.” I W. & M. 2, ch. 2, clause 10.

      This language was included in the Virginia Declaration of Rights. 7 F. Thorpe,

The Federal and State Constitutions, H. R. Doc. No. 357, 59th Cong., 2d Sess. 3813

(1909). It was also in the Virginia recommendations for a federal bill of rights. 3 J.

Elliot, The Debates in the Several State Conventions on the Adoption of the

Constitution 658 (2d ed. 1836). James Madison introduced it verbatim in the House

of Representatives. 1 Annals of Congress 438 (1789).

      In the United States, the Constitution protects habeas corpus, but does not

confer a right to bail. U.S. Const. art. 1, § 9. Ambiguity exists regarding whether the

First Congress intended to curtail excessive bail without guaranteeing a right to bail,

or whether Congress meant the phrase “excessive bail” to be a shorthand expression

of both rights, when it proposed the Bill of Rights.

      In 1789, Congress should have been aware of the distinction between language

that conveyed a right to bail and language that only protected against one means by

which a pre-existing right to bail might be abridged.               Consider that the

Massachusetts Body of Liberties of 1641 guaranteed bail to every accused person

except those charged with a capital crime or contempt in open court. I Documents on

Fundamental Human Rights 79, 82 (Z. Chafee, ed., 1951).

      Several state constitutions copied it. 5 F. Thorpe, The Federal and State

Constitutions, H. Doc. No. 357, 59th Congress, 2d Sess. 3061 (1909). So did the

Northwest Ordinance in 1787. Art. II, 32 Journals of the Continental Congress 334

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(1787). Also, the Judiciary Act of 1789, which Congress enacted contemporaneously

with the Bill of Rights, contained the same guarantee. 1 Stat. 91 § 33 (1789).

        In 1984, Congress authorized preventive detention in federal criminal

proceedings. See 18 U.S.C. § 3142(d) and (e). The Supreme Court held that the

preventive detention provisions in the Bail Reform Act of 1984 did not violate the

Eighth Amendment. United States v. Salerno, 481 U.S. 739 (1988). Bail is not limited

to preventing the defendant’s flight prior to trial, nor is it limited to safeguarding the

court’s role in adjudicating guilt or innocence. Ibid. The Court rejected the idea that

the Eighth Amendment categorically prohibits the government from pursuing other

compelling interests through regulation of pretrial release. Id. at 753.

        Instead, “[t]he only arguable substantive limitation of the Bail Clause is that

the government’s proposed conditions of release or detention not be excessive in light

of the perceived evil.” Id. at 754. Provided that after an adversary hearing the court

finds that a person poses a risk to individuals or the community that no condition of

release can dispel, detention of a person, charged with serious felonies prior to trial

does not violate the Eighth Amendment. Salerno at 755.

        Also, provided that the government’s objective is legitimate, and there are

procedural safeguards, specifically: i) that detention applies only to serious crimes,

ii) that the arrestee is entitled to a prompt hearing, iii) that the length of detention

is limited, and iv) that detainees must be housed apart from criminals; then detention

of a person, charged with serious felonies prior to trial does not violate due process.

Ibid.

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      Bail violates the Eighth Amendment when set higher than an amount

reasonably calculated to ensure the asserted governmental interest. Stack at 4 – 6.

If only to guarantee that the defendant will appear trial and submit to sentence, if

convicted; then “bail must be set by a court at a sum designed to ensure that goal,

and no more.” Salerno at 754.

      To challenge bail as excessive, a person must move for reduction. If that

motion is denied, then appeal to the Court of Appeals, and, if necessary, to the

Supreme Court Justice sitting for that circuit. Stack at 6 – 7. Although the Eighth

Amendment does not appear to apply to postconviction release pending appeal, the

practice appears to be to grant such releases. Hudson v. Parker, 156 U.S. 277 (1895).

      “Since the function of bail is limited, the fixing of bail for any individual

defendant must be based upon standards relevant to the purpose of assuring the

presence of that defendant.” Stack at 5. Bail set at an amount higher than that

necessary to ensure the presence of the defendant at trial is presumptively “excessive”

under the Eighth Amendment. Stack, supra.

      “The practical effect of excessive bail is the denial of bail.” Meechaicum v.

Fountain, 696 F.2d 790 at 791 (10th Cir. 1983). There is “no constitutional distinction

between requiring excessive bail and denying bail altogether in the absence of

legitimate reasons.” United States ex rel. Goodman v. Kehl, 456 F.2d 863, 869 (2nd

Cir. 1972); see Carlson, supra (dissenting opinion).

      The due process clause (U.S. Const. amend. XIV) guarantees a clear liberty

interest that cannot be abrogated “without the application of a reasonably clear legal

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standard and the statement of a rational basis for the denial.” Atkins v. Michigan,

644 F.2d 543, 549 (6th Cir.), cert. denied, 452 U.S. 964 (1981).

      Inferring need for a high bail only from the fact of indictment is arbitrary.

Stack at 6. For example, denying bail to a defendant who exercised his or her rights

(U.S. Const. amend. V, VI) and refused to discuss the indictment with prosecutors is

improper. Noto v. United States, 76 S. Ct. 255, 257 (1955).


                                Factors for Release

      Mr. Languerund presents this information for the Court’s consideration of his

request for release. 18 U.S.C. § 3142(g).

      10.     The government alleges violation of the United States Code. 18 U.S.C.

§§ 231(a)(3), 111, 1752, and 40 U.S.C. § 5104(e).

      11.     Accordingly, no presumption of detention applies.       18 U.S.C. §

3142(e)(3).

      12.     Presently, no formal evidence has been offered.

      13.     The government has obtained an Indictment and proffered what

investigators have seized, been told, and believe.

      14.     The Court’s findings pursuant to subsection 3142 shall be supported by

clear and convincing evidence. 18 U.S.C § 3142(f).

      15.     Inferring the need for detention only from the filing of a charging

document would be arbitrary. See Stack at 6.

      16.     Mr. Languerund has family in South Carolina, where he had a job.


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      17.     Considering that the Court has appointed counsel, pursuant to the

Criminal Justice Act, it is fair to say that the Court has already found Mr.

Languerund to be indigent. 18 U.S.C. § 3006A.


                                     Conclusion

      Clearly, Congress’ has provided for release, the least restrictive combination of

conditions, and to rely on penalties and sanctions for violation. 18 U.S.C. §§ 3142,

3146, 3147, 3148. In addition, the Constitution and precedent reflect the people’s

belief that someone is innocent until proven otherwise, punishment must not precede

conviction, and that a person is entitled to the assistance of counsel for his or her

defense. U.S. Const. amend. VI, VIII; see Stack at 4; Gideon v. Wainwright, 372 U.S.

335 (1963).

      “The law requires reasonable assurance[,] but does not demand absolute

certainty” that a defendant will comply with release conditions….” Munchel, Slip Op.

at 17, quoting United States v. Alston, 420 F.2d 176, 178 (D.C. Cir. 1969).

      Accordingly, Mr. Languerund proposes conditions of release that will

reasonably assure his appearance and the safety of everyone, such as:

      18.     Remain in the custody of a designated person, who agrees to assume

supervision and to report any violation of a release condition to the Court, if the

designated person is able reasonably to assure the judicial officer that the person will

appear as required and will not pose a danger to the safety of any other person or the

community;


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       19.   Maintain or actively seek employment;

       20.   Abide by specified restrictions on personal associations, place of abode,

or travel;

       21.   Avoid all contact with an alleged victim of the crime and with a potential

witness, who may testify concerning the offense;

       22.   Report on a regular basis to a designated law enforcement agency,

pretrial services agency, or other agency;

       23.   Comply with a specified curfew;

       24.   Refrain from possessing a firearm, destructive device, or other

dangerous weapon;

       25.   Refrain from excessive use of alcohol, or any use of a narcotic drug or

other controlled substance, as defined in section 102 of the Controlled Substances Act

(21 U.S.C. § 802), without a prescription by a licensed medical practitioner; and

       Considering these facts, the government’s proposed detention would violate the

Constitution. U.S. Const. amend. VIII; See Salerno at 754.


                             Points and Authorities

Atkins v. Michigan, 644 F.2d 543 (6th Cir. 1981).
Bell v. Wolfish, 441 U.S. 520 (1979).
Carlson v. Landon, 342 U.S. 524 (1952).
Darnel’s Case.
Jenkes’ Case, 6 How. St. Tr. 1189, 36 Eng. Rep. 518 (1676).
Gideon v. Wainwright, 372 U.S. 335 (1963).
Hudson v. Parker, 156 U.S. 277 (1895).
Meechaicum v. Fountain, 696 F.2d 790 (10th Cir. 1983).
Noto v. United States, 76 S. Ct. 255 (1955).


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Stack v. Boyle, 342 U.S. 1 (1951).
United States v. Alston, 420 F.2d 176 (D.C. Cir. 1969).
United States v. Munchel, No. 21-3010 (D.C. Cir., Mar. 26, 2021).
United States v. Nwokoro, 651 F.3d 108 (D.C. Cir. 2011).
United States v. Salerno, 481 U.S. 739 (1988).
United States v. Tortora, 922 F.2d 880 (1st Cir. 1990).
United States ex rel. Goodman v. Kehl, 456 F.2d 863 (2nd Cir. 1972).
U.S. Const. Art. 1, § 9.
U.S. Const. amend. V.
U.S. Const. amend. VI.
U.S. Const. amend. VIII.
U.S. Const. amend XIV.
1 Stat. 91 § 33 (1789).
18 U.S.C. § 3006A.
18 U.S.C. § 3142.
18 U.S.C. § 3145.
18 U.S.C. § 3146.
18 U.S.C. § 3147.
18 U.S.C. § 3148.
21 U.S.C. § 802.
42 U.S.C. 14135a.
Act. 31 Charles 2, ch. 2.
Bail Reform Act of 1984.
Bill of Rights of 1689.
Habeas Corpus Act of 1679.
Magna Carta.
Massachusetts Body of Liberties of 1641.
Northwest Ordinance in 1787.
Petition of Right, 3 Charles 1, ch. 1.
Virginia Declaration of Rights.
1 Annals of Congress 438 (1789).
1 Annals of Congress 754 (1789).
3 Charles 1, ch. 1.
31 Charles 2, ch. 2.
3 Edw. 1, ch. 12.
36 Eng. Rep. 518 (1676).
3 How. St. Tr. 1 (1627).
6 How. St. Tr. 1189.
32 Journals of the Continental Congress 334 (1787).
I W. & M. 2, ch. 2, clause 10.
J. Elliot, The Debates in the Several State Conventions on the Adoption of the
   Constitution 658 (2d ed. 1836).
F. Thorpe, The Federal and State Constitutions, (1909).

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Loc. Cr. R. 47(f).

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                              Certificate of Service

       I hereby certify that on this 2nd day of August 2021 a copy of the foregoing

Motion for Revocation of Detention Order, Request for Hearing, Memorandum of

Law, and Factors for Release were delivered electronically to Mr. Robert Craig Juman

(robert.juman@usdoj.gov), Office of the United States Attorney, 500 East Broward

Boulevard, Fort Lauderdale, Florida 33132.


                                         /s/ William          L. Welch, III
                                         William L. Welch, III




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